                                     Case 2:15-cv-05346-CJC-E Document 453-4 Filed 11/03/20 Page 1 of 25 Page ID
                                                                     #:31562



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                                     2                                C E N T R A L DI S T RI C T O F C A LI F O R NI A
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                                          T. P. , et al.,                                                                )
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                                     5                            Pl ai ntiff s,                                         ) C a s e N o.: 1 5- c v -5 3 4 6 - R
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      Case 2:15-cv-05346-CJC-E Document 453-4 Filed 11/03/20 Page 2 of 25 Page ID
R E D A C T E D V E R SI O N O F D O C U M EN oN#:31563
                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A L 1




                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA


           T.P., by and through S.P.,  )
           as next friend, parent, and )
           natural guardian, et al.,   )
                                       )
                Plaintiffs,            )
                                       ) CIVIL ACTION NO.
           v.                          ) 2:15-cv-05346-R-E
                                       )
           Walt Disney Parks and       )
           Resorts U.S., Inc.,         )
                                       )
                Defendant.             )




           ********************************************************

                               ORAL AND VIDEOTAPED DEPOSITION OF



                                                   VOLUME I

           ********************************************************




                                               REPORTED BY:

              CANDYCE E. FISHER, TX CSR No. 9421, CA CSR No. 13771

                                               P.O. BOX 1264

                                         RED OAK, TEXAS 75154


                                                 E UX. HI
                                                       S . BIL ET G "A LD " S U P P O R T
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R E D A C T E D V E R SI O N O F D O C U M EN oN#:31564
                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A L 2

                   BE IT REMEMBERED THAT oral and videotaped

           deposition of                                               , produced as a witness

           at the instance of the Defendant and duly sworn, was

           taken in the above-styled and -numbered cause on Monday,

           November 11, 2019, from 10:02 a.m. to 6:48 p.m., before

           Candyce E. Fisher, CSR in and for the State of Texas,

           reported by machine shorthand, at the offices of

           McDermott Will & Emery LLP, 2501 North Harwood Street,

           Suite 1900, Dallas, Texas 75201, pursuant to the Federal

           Rules of Civil Procedure and the provisions stated on

           the record or attached hereto.




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      Case 2:15-cv-05346-CJC-E Document 453-4 Filed 11/03/20 Page 4 of 25 Page ID
R E D A C T E D V E R SI O N O F D O C U M EN oN#:31565
                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A L 3

       1                                        APPEARANCES

       2

       3 FOR PLAINTIFFS:

       4                   DOGALI LAW GROUP, P.A.

       5           BY:     Andy Dogali, Esq.
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       8

       9

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     11                    MCDERMOTT WILL & EMERY LLP

     12            BY:     Jeremy M. White, Esq.
                           -and-
     13                    Sarah Schanz, Esq.
                           500 North Capitol Street, NW
     14                    Washington, D.C. 20001
                           (202) 756-8000
     15                    jmwhite@mwe.com

     16

     17

     18

     19 ALSO PRESENT:

     20                    Rick Bell, Videographer

     21

     22                                           * * * * *

     23

     24

     25


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R E D A C T E D V E R SI O N O F D O C U M EN oN#:31566
                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A L 6

       1 Exhibit 9              "KC: In-home Instructions for                               ...   181

       2                        Maintaining Compliance When

       3                        Transitioning"

       4                        [KAC,JLC5160 - KAC,JLC5162]

       5 Exhibit 10             Letter from                                          to     ...   197

       6                        "Guest Services Managers"

       7                        [KAC,JLC0003]

       8 Exhibit 11             Excerpt from complaint                                      ...   206

       9                        [pg 203 - pg 221]

     10 Exhibit 12              "DOT/DAS Enrollment"                                        ...   210

     11                         [DisneyCA-TP0132096]

     12 Exhibit 13              "OpSheet Posted Standby Wait Time                           ...   215

     13                         Report for 3/10/14"

     14                         [DisneyCA-TP0132755 -

     15                         DisneyCA-TP0132767]

     16 Exhibit 14              Plaintiffs K.A.C. and J.L.C.'s                              ...   221

     17                         Answers to Defendant's First

     18                         Interrogatories

     19 Exhibit 15              "Fastpass Plus Activity"                                    ...   228

     20                         [DisneyCA-TP0132904 -

     21                         DisneyCA-TP0132905]

     22 Exhibit 16              Two color photographs of a                                  ...   256

     23                         Disability Access Service card

     24                         dated November 24, 2014, through

     25                         November 26, 2014


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R E D A C T E D V E R SI O N O F D O C U M EN oN#:31567
                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A L 8

       1                                        PROCEEDINGS

       2                           THE VIDEOGRAPHER:                    We're on the record at

       3 10:02 a.m.           Today is November 11th, 2019.                                 This is the

       4 oral and video-recorded deposition of

       5                 and beginning of Part 1.                         This is in the matter

       6 of T.P., by and through S.P., as next friend, parent,

       7 and natural guardian, et al., versus Walt Disney Park

       8 and Resorts U.S., Incorporated, in the United States

       9 District Court, Central District of California, case

     10 number 2:15-CV-05346-R-E.                       We're located today at

     11 2501 North Harwood Street, suite 1900, Dallas, Texas.

     12                            Will counsel please state their

     13 appearance for the record.                         Start with the plaintiff.

     14                            MR. DOGALI:             Andy Dogali for the

     15 plaintiffs.

     16                            MR. WHITE:           Jeremy White on behalf of

     17 Defendant Walt Disney Parks and Resorts U.S.,

     18 incorporated.

     19                            THE VIDEOGRAPHER:                    Thank you.

     20                            Will the court reporter please swear in

     21 the witness.

     22                            [Witness sworn.]

     23 ///

     24 ///

     25 ///


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R E D A C T E D V E R SI O N O F D O C U M EN oN#:31568
                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A L 9

       1                                                                      ,

       2 having first been duly affirmed by me to tell the truth,

       3 was examined and testified as follows:

       4                                        EXAMINATION

       5           Q       (BY MR. WHITE)             Good morning.

       6           A       Good morning.

       7           Q       Can you please state your full name and home

       8 address for the record?

       9           A       It's                                         .

     10            , Mesquite, Texas 75181.

     11            Q       How far is Mesquite, Texas, or where you're

     12 living, from the airport, from the Fort Worth/Dallas

     13 airport?

     14            A       Mesquite to the Dallas -- which one?

     15            Q       How long would it take to get from your home

     16 to the Dallas-Fort Worth airport?

     17            A       Maybe 30 miles, approximately.

     18            Q       And how long would that 30 miles take?

     19            A       Depending on traffic, thirty to forty-five

     20 minutes.

     21            Q       How long have you lived at that address for?

     22            A       We moved November 1993 there.

     23            Q       And when you say "We moved," who are you

     24 referring to?

     25            A       Me and my husband.


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R E D A C T E D V E R SI O N O F D O C U M EN oN#:31569
                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A1 9L 7

       1           Q       At some point, you learned about the changes

       2 being made to the GAC program.                            Is that right?

       3           A       Yes.

       4           Q       How did you learn about it?                            Was it online or

       5 did someone tell you about it?

       6           A       I don't know.            It could have been online.                     It

       7 could have been something I received in the e-mail.                                       I

       8 don't know.

       9           Q       Do you remember hearing that the reason why

      10 changes were being made was because of the abuse and

      11 fraud relating to GAC?

      12           A       I heard that there was abuse.

      13           Q       And you sent in a letter at some point to

      14 guest services managers at Disney; right?

      15           A       Yes.

      16           Q       And you said to them that you understood why

      17 Disney had made the changes to the program, didn't you?

      18           A       If it was abuse.

      19           Q       Is that right?

      20           A       Yes.

      21                            MR. WHITE:          Exhibit 10.

      22                            [Exhibit 10 marked for identification.]

      23           Q       (BY MR. WHITE)                                       , is that your

      24 signature at the bottom of this document?

      25           A       Yes, it is.


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                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A1 9L 8

       1           Q       Okay.       This is a letter -- was this letter

       2 ultimately sent to guest services managers?

       3           A       It was a letter that I had attached to

       4 documents showing                           's specific conditions, and

       5 that's what I would take to guest services with me.

       6           Q       Okay.       And you see in that last paragraph,

       7 "Please note that we understand why changes have been

       8 made to this program."                    Do you see that?

       9           A       Yes.

      10           Q       Okay.       Did you ever observe any abuse

      11 yourself?

      12           A       Did I observe someone --

      13           Q       Yes.      Did you ever observe anyone abusing the

      14 GAC system?

      15           A       Abusing?         No.

      16           Q       When you went to the parks and received a GAC,

      17 who went with you besides your husband and daughter?

      18 Did anyone else go with you?

      19           A       Which -- which --

      20           Q       During any of those trips.                            You mentioned you

      21 went in 2018, two thousand -- excuse me -- 2008, 2009,

      22 and 2011.           I don't know if there were any other trips

      23 that you went under GAC.

      24           A       Under GAC . . .

      25                            After 2011, I believe I went in 2013.


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                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A2 2L 4

       1 signed states, "Disney FastPass service may be used in

       2 conjunction with this service"?

       3           A       Yes.

       4           Q       So when you received the DAS on the first day,

       5 it indicated to you that you could use FastPass with

       6 DAS, in conjunction with it.                          And so you can book

       7 FastPasses and return times and go back and forth, using

       8 those two systems to go on a lot of rides at the parks.

       9 Did you understand that?

      10           A       That I can utilize a FastPass -- I can book a

      11 FastPass online?

      12           Q       Yes.      And that you can use FastPass in

      13 conjunction with DAS to go on several rides at the

      14 parks.

      15           A       Yes.

      16           Q       At Animal Kingdom -- actually, going back to

      17 Epcot, do you remember what rides you went on at Epcot?

      18           A       No, I don't.

      19           Q       What about Animal Kingdom?

      20           A       Which date?

      21           Q       You went to Animal Kingdom the next day,

      22 March 11th.

      23           A       We did It's Tough to be a Bug.

      24           Q       Okay.       And that typically has a low wait, five

      25 or ten minutes, doesn't it?


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                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A2 2L 5

       1           A       On that particular date, we were turned away

       2 from both FastPass and standby line with the DAS card,

       3 so I don't know.

       4           Q       Did you have something filled out on your DAS

       5 card indicating that you would be going into It's Tough

       6 to be a Bug?

       7           A       Did I have something on my DAS card?

       8           Q       Well, you understand how the system works.

       9 You get a return time; right?                           They put it on your card.

      10 And then you come back at that time to redeem the return

      11 time.         And so what I'm asking you is, did you have It's

      12 Tough to be a Bug on your DAS?

      13           A       I could not get any representative to sign it.

      14 So I presented it.                 They -- I don't know if they didn't

      15 know what it -- how to use it, but I asked two

      16 representatives, one in the FastPass lane and one in the

      17 standby.          And I had to end up going over to kiosks in

      18 order to get us assigned.

      19           Q       Okay.       And did they end up, the woman at guest

      20 relations, escorting you to the ride for you to be able

      21 to go on it?

      22           A       No.      I escorted myself.

      23           Q       If you look at your interrogatory responses,

      24 page 13, what does that last sentence say?

      25           A       13?


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                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A2 2L 6

       1           Q       Page 13 of your interrogatory responses.                              It

       2 said, "The manager refused."

       3           A       Okay.       So when you said "guest services" --

       4           Q       Mm-hmm.

       5           A       -- I'm thinking you meant Animal Kingdom.

       6 This was just someone standing up with, I guess, an iPad

       7 and --

       8           Q       Okay.

       9           A       -- kiosk or whatever.

      10           Q       Right.

      11           A       So I'm thinking guest services, the booth.

      12           Q       I see.       But when you spoke to someone at the

      13 kiosk and explained what happened, they took you over to

      14 the ride and made sure that you got on the ride.

      15           A       Correct.         But she did not sign the DAS, giving

      16 me a time.

      17           Q       Okay.       But she made sure that you had -- you

      18 and your family had access to that ride.

      19           A       Right.

      20           Q       And in your interrogatory response, you state

      21 that                   abandoned his wheelchair and suffered a

      22 meltdown.           Do you see that?

      23           A       Yes.

      24           Q       What happened when he suffered a meltdown?

      25           A       He started running around in the park.                             And I


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                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A2 2L 7

       1 believe my husband, daughter, Maria may have been trying

       2 to catch him.

       3           Q       Okay.

       4           A       I don't know exactly --

       5           Q       And they were able to redirect him back to the

       6 ride?

       7           A       Back to his wheelchair, because at that point,

       8 we didn't know if we could get on or off.

       9           Q       I see.       So when you say he suffered a

      10 meltdown, he got out of his wheelchair and started

      11 going -- running somewhere?

      12           A       Yes, because we had taken him out of his

      13 wheelchair, thinking we were going to get on the ride.

      14           Q       I see.       So he -- he thought he was going to go

      15 on the ride because you took him out of the wheelchair.

      16 And when you couldn't go on the ride, he then ran,

      17 started to run?

      18           A       We put him back in the wheelchair, but he

      19 didn't want to get back in the wheelchair because he

      20 wanted to go on the ride.

      21           Q       Okay.       Did he do anything else?

      22           A       All I know is he ran and we had to convince

      23 him to get back in the wheelchair --

      24           Q       Okay.

      25           A       He was just frustrated.


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R E D A C T E D V E R SI O N O F D O C U M EN oN#:31575
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       1           Q       And there could have been more -- could have

       2 been more than that?

       3           A       I don't know, because his card wasn't signed.

       4           Q       Okay.       But for Mad Tea Party, Dumbo, and

       5 Tomorrowland Speedway, you stood in the standby lines

       6 for those rides?

       7           A       I recall Mad Tea Party and Dumbo specifically,

       8 it was -- it was a line, because he physically had to

       9 wait in line for those, when we would normally go

      10 through an exit.

      11           Q       And how long were those waits at Mad Tea Party

      12 and Dumbo?

      13           A       I don't know, because I don't ride tea -- the

      14 teacups, so I don't know.

      15           Q       What about Dumbo?                 How long was the wait at

      16 Dumbo?

      17           A       I don't know.

      18           Q       Would it surprise you that, for most of the

      19 day, the wait was twenty minutes, sometimes more?

      20           A       I don't know how long the wait was.                              The issue

      21 was he was in line and started to collapse, when we

      22 would normally, on those particular rides, go through

      23 the exit.

      24           Q       Okay.       There's no indication in your

      25 interrogatory response that he started to collapse, is


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R E D A C T E D V E R SI O N O F D O C U M EN oN#:31576
                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A2 3L 4

       1 there?

       2           A       That he what?

       3           Q       That he started to collapse.                              Do you see

       4 anything in your interrogatory response about him

       5 starting to collapse?

       6           A       No.

       7           Q       Okay.

       8           A       Just said that he had a meltdown.

       9           Q       And it says he had a meltdown because he had

      10 to go through the FastPass entrance?

      11           A       I'm not sure if that was FastPass or standby.

      12 I don't know.

      13           Q       Okay.       But you understand the FastPass

      14 entrance is what he would go on during -- with GAC?

      15           A       I don't know if that was FastPass or standby.

      16 I just know it was a line that we had usually not

      17 entered that way.                We would usually enter through the

      18 exit.

      19           Q       Okay.       So you're saying because he didn't

      20 enter through the exit, he had a meltdown?

      21           A       Standing in line, he did.

      22           Q       Okay.       Did you ask anyone about entering

      23 through the exit?

      24           A       I don't recall, but I wanted -- I went there

      25 with my DAS -- yeah, with my DAS.                                And that's where


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       1           A       A long line for me is different than a long

       2 line for him.

       3           Q       I understand.            What's a long line for                            ?

       4           A       If he has a meltdown in it.

       5           Q       No, I understand that.                       But what -- what is a

       6 long line for                         in terms of minutes?

       7           A       A long line for                              actually is -- if he

       8 can't access, you know, something that's right in front

       9 of him, then that's a line.                         And I don't know what that

      10 could be.           It could be -- you know, he knows he's going

      11 to get his French fries.                     And that could be ten people

      12 ahead of him, but he knows he's going to get it, or it

      13 could be two people ahead of him and he doesn't get it

      14 for a long time.

      15           Q       Is twenty-five minutes or twenty minutes -- is

      16 that a long line for him?

      17           A       To access something preferred, maybe.

      18           Q       Is -- when you say "maybe," so is thirty

      19 minutes -- would you say thirty minutes is a long line?

      20           A       On any given day, I don't know.

      21           Q       What about this day at Magic Kingdom?

      22           A       I don't know how long he was in the line.

      23           Q       Well, if he was in the line for twenty

      24 minutes, would that be considered a long line for him?

      25           A       I don't know.            We went through all these other


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                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A2 4L 7

       1           A       We split up.           So I don't know if they were

       2 with us on some of the rides or -- I don't -- I don't

       3 know when we connected again.                           But I -- but my daughter

       4 would have gone with her family.

       5           Q       Mm-hmm.        Did you use the DAS at Hollywood

       6 Studios?

       7           A       That day?

       8           Q       On March 13th.

       9           A       Was that the fourth day?

      10           Q       The fourth day.

      11           A       That's when I got the 65-minute return time.

      12           Q       For Buzz Lightyear?

      13           A       Yes.

      14           Q       But you didn't use it for anything else?                              I

      15 think, as you mentioned --

      16           A       No.

      17           Q       --                doesn't like anything else there.

      18           A       No.

      19           Q       Are there any -- does                                     like most rides?

      20 Let's say at Magic Kingdom.

      21           A       He enjoys a lot of the rides.

      22           Q       Mm-hmm.        Are there some that he prefers over

      23 others?

      24           A       I don't know.            If -- we take him, usually, to

      25 some of the same rides, and he's gotten accustomed to


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     Case 2:15-cv-05346-CJC-E Document 453-4 Filed 11/03/20 Page 18 of 25 Page ID
R E D A C T E D V E R SI O N O F D O C U M EN oN#:31579
                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A2 5L 2

       1 that you received this compensation for the hotel and

       2 for the tickets, are you still suing as a result of that

       3 trip, even though you received all those benefits?

       4           A       When you say "compensation" --

       5           Q       You received free hotel stays; right?                            And you

       6 received free tickets.                   Isn't that right?

       7           A       Yes.

       8           Q       Okay.       So what I'm asking you is, even though

       9 Disney provided you those benefits as a result of the

      10 letter you wrote complaining about that visit, are you

      11 still suing Disney for that visit?

      12           A       What I asked for was accommodations and

      13 reimbursements.               They decided, whoever --

      14           Q       I'm just asking you.

      15           A       -- decided what to give me.

      16           Q       I'm just asking you, based on what -- even

      17 though they gave you these things, are you still suing

      18 Disney for that visit in March 2014?

      19           A       Yes, I am.

      20           Q       Okay.       And then turning to November of 2014,

      21 it says that you experienced a 50-minute wait at

      22 Speedway, a 20-minute wait at teacups, and a 25-minute

      23 wait at mini roller coster.

      24           A       Yes.

      25           Q       Do you see that?


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R E D A C T E D V E R SI O N O F D O C U M EN oN#:31580
                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A2 5L 3

       1           A       Yes.

       2           Q       So he waited in the standby lines for those

       3 rides?                      did?

       4           A       I don't think he physically waited in the

       5 lines.

       6           Q       Okay.       So what do you mean by "experienced a

       7 fifty-minute wait"?                 Are you saying his DAS return time

       8 was fifty minutes?

       9           A       According to his DAS.

      10           Q       Okay.       So he went on three rides using DAS

      11 that day, day one?

      12           A       Yes.

      13           Q       Okay.

      14           A       He would have also received some readmit

      15 passes that --

      16           Q       I think you said he got five readmits; right?

      17           A       Yes.

      18           Q       So he went on at least eight rides that day at

      19 Magic Kingdom?

      20           A       I don't know if he did eight.

      21           Q       Well, did he use all of his re-ads?

      22           A       I don't remember.

      23           Q       Okay.

      24           A       I don't remember.

      25           Q       But if he had used all his re-ads, it would


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R E D A C T E D V E R SI O N O F D O C U M EN oN#:31581
                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A2 5L 4

       1 have been five plus three equals eight.

       2           A       Yes.

       3           Q       Okay.       Do you remember if you used most of the

       4 re-ads?

       5           A       I believe so.

       6           Q       So he probably, that day, went on seven to

       7 eight rides?

       8           A       Yes.

       9           Q       In fact, you stated that it was a, quote,

      10 relatively satisfying experience that day, end quote.

      11 Is that right?

      12           A       Yes.

      13           Q       Okay.       And then at day two, you went to Animal

      14 Kingdom again?

      15           A       Yes.

      16           Q       And you tried to use a FastPass for DINOSAUR

      17 and Safari?            I'm sorry.          It says, "arranged times."                     Do

      18 you know what that refers to?

      19           A       So I went to guest services to try to get

      20 readmit passes and was told I could not get any.

      21           Q       Okay.       This was by a woman by the name of

      22 Susan?

      23           A       Susan.       Correct.

      24           Q       But Susan arranged to set up wait times in

      25 advance for you?


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     Case 2:15-cv-05346-CJC-E Document 453-4 Filed 11/03/20 Page 21 of 25 Page ID
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                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A2 5L 5

       1           A       On the rides that were left that day.

       2           Q       Okay.       So was that an accommodation that she

       3 provided to you?

       4           A       She set up this.                Yes, she did.

       5           Q       Okay.       And that was for DINOSAUR, Safari, and

       6 the Lion King show?

       7           A       I'm not sure about the Lion King show.                               That

       8 might have been something we --

       9           Q       Okay.       But the rides that you and                                 or

      10 the rides that                          wanted to go on that day, he went

      11 on after Susan set up those times?

      12           A       Yes.      And I believe it was DINOSAUR and the

      13 Safari.

      14           Q       And after                       went on the rides he wanted

      15 to go on, you went to Epcot?

      16           A       Yes, we went to Epcot.

      17           Q       Okay.       And you received two readmission passes

      18 at Epcot?

      19           A       Correct.

      20           Q       But those were to be used the next day?

      21           A       Yes.

      22           Q       Okay.       And the next day, day three,

      23 November 26th, you used two re-ads and also redeemed a

      24 return time, a DAS return time, for Soarin'.                                       Is that

      25 right?


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R E D A C T E D V E R SI O N O F D O C U M EN oN#:31583
                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A2 5L 6

       1           A       Yes.

       2           Q       And so the rides that you wanted to go on at

       3 Epcot that day, you were able to go on using DAS and the

       4 two readmission passes.

       5           A       Well, I had to use the readmission passes

       6 because I got a 110-minute wait on the DAS.

       7           Q       Well, it says that you used -- I thought you

       8 used the DAS for Soarin'.

       9           A       I don't recall using the DAS for Soarin'.                               I

      10 thought we -- whatever his card says.

      11                            MR. WHITE:          I'd like to mark as

      12 Exhibit 16.

      13                            [Exhibit 16 marked for identification.]

      14           Q       (BY MR. WHITE)             Do you see the last entry

      15 refers to Soarin'?

      16           A       Yes.

      17           Q       So this -- and it shows crossed out; correct?

      18           A       Yes.

      19           Q       So you used the DAS return time for Soarin'

      20 that day, didn't you?

      21           A       Yes.

      22           Q       And then you also used two readmission passes

      23 that day?

      24           A       Yes.

      25           Q       So you went a total -- the three rides that


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R E D A C T E D V E R SI O N O F D O C U M EN oN#:31584
                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A2 9L 2

       1                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
       2

       3 T.P., by and through S.P., )
         as next friend, parent, and )
       4 natural guardian, et al.,   )
                                     )
       5      Plaintiffs,            )
                                     ) CIVIL ACTION NO.
       6 v.                          ) 2:15-cv-05346-R-E
                                     )
       7 Walt Disney Parks and       )
         Resorts U.S., Inc.,         )
       8                             )
              Defendant.             )
       9 ********************************************************

      10                             REPORTER'S CERTIFICATION

      11                       DEPOSITION OF

      12                                          VOLUME I

      13                                    NOVEMBER 11, 2019

      14 ********************************************************

      15           I, Candyce E. Fisher, Certified Shorthand Reporter

      16 in and for the State of Texas, hereby certify to the

      17 following:

      18           That the witness,                                                        , was duly

      19 sworn by the officer and that the transcript of the oral

      20 deposition is a true record of the testimony given by

      21 the witness;

      22           That reviewal by the witness of the deposition

      23 transcript was requested;

      24           That the deposition transcript was submitted on

      25 ____________________ to Andy Dogali, attorney for the


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                                                v Te mP b Re rO P1 O1 ,S E 2 D0 1T9 O B E FI L E D U N D E R S E A2 9L 3

       1 witness, for examination, and a signed errata shall be

       2 returned to U.S. Legal Support, Inc. within 30 days, by

       3 ____________________;

       4           That the amount of time used by each party at the

       5 deposition is as follows:

       6                   Mr. White - 6 hrs, 4 mins

       7           That pursuant to information given to the

       8 deposition officer at the time said testimony was taken,

       9 the following includes counsel for all parties of

      10 record:

      11                   Andy Dogali, Attorney for Plaintiffs

      12                   Jeremy M. White and Sarah Schanz, Attorney for

      13 Defendants

      14           I further certify that I am neither counsel for,

      15 related to, nor employed by any of the parties or

      16 attorneys in the action in which this proceeding was

      17 taken, and further that I am not financially or

      18 otherwise interested in the outcome of the action.

      19           Certified to by me this 26th of November 2019.

      20

      21

      22                            _____________________________________

      23                            CANDYCE E. FISHER, Texas CSR No. 9421
                                    Expiration Date: 12/31/2019
      24

      25


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                                         E X HI BI T " D "
